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t. chDlsT.rmv conn 2. i>ERsToN REPRFSFNTED i/Otlcin-"quii?odk 9
TNW Robinson, Rodney
l MAG. DKTJDEF. NUMBER 4. 'DIST. DKT.."DEF. NUMBER 5. APPEALS DKTJ'DEF. NUMBER !' \' §_. ’_OTHER D T NUMBER
2;97-020263»001 ._ .'
T. IN CASE|'MATTER OF {Case Nom¢) 8. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED ql`-\QL §EBI;]R‘_E[§E€NTATION TYPE
U.S. v. Robinson Felony Adult Defendant "" Su}')’ervis§g‘héieasb.j“;
li. OFFENSE(S) CH ARGED (Citc U. S. Code Tifle & Scl:|ion) ii‘ more than one oii'cnse, list (up to iive} major ol'fmses charged according _to severity ul'u{i’cnse.
i) 42 408. F -- MISUSE OF SOC[AL SECURITY NUMBER . '\ -. - . ill ..r vi
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AND MAILING ADDRE S 0 Appnlm|ng Counsel [] C Co-Cotrnscl
Perkins Samue] \:l F SuhsFor FederalDe{ender [] R Subs For Reta|nod Attomey
147 Jef§‘erson Ste 804 [] P SubsFor PmelAttomey E] Y Standhy Counsel
Memphis Tr\j 38103 Prlor Artorney's Name:
‘,.r ' Dale:

 

C] Because thc above-named person represented has les titled under oath or has
otherwise satisfied this court that he or she (l) is l'lnam:la]l‘\,l unable to employ counsel and

Tclcphune Nurnhcr: 901 522'883 2 i2l dues not wish to waive counse|. and because the lnterc tice so require, the

 

 

  

attorney whose name appears in l¢cm 12 is appointe represent this person in this case,
14. NAME AND MAILING ADDRESS OF LAW F[RM [only provide per instructional

§ §§me &Z-_,~

Slgnature ol' Preslding .ludiclai Gll'leer or By Order ofthe Court
104/l ‘i/?(ltl§

Date ol'Order Nune Pro Tunc Daie
Repayment or partial repayment ordered from the person represented for this service at
time ol'lppointment. m YES \:I NO

 

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CATEGORIES [Attaeh itemization of services with dates) CE£I»I|£,FESB SYYI_TEB h-{W§:§(I:)H M§$EU;§T:E§]H ADRBLII:‘FPAL
15. a. Arralgnrnent and."or Plea
b. Bail and Detention Hearings
c. Mot‘lon Heorings
fl d. Trial
C e. Sentencing Hearings
g f. Revocation Hearings
§ g. Appeals Court
h. Other (Specify on additional sheets)
(Rate per hour = $ ) T(JTALS:
16. a. Interviews and Conferences
g b. Obtaining and reviewing records
0 e. Legal research and briefwriting
; d. Travel time
§ e. lnvestigative and Other work (sp¢¢iry on additional mem _
{ (Rate per hour =‘ $ ] TOTALS:
17. "l`ravel Expenses (lodging. porking, mea|s. mileagc, ete.)
18. Other Expenses (other than expert, iranaeripts, etc.)
19. CERT!F!CA'HON OF ATTORNEYI'PAYEE FOR THE PE.RIOD 0 F SERVICE 20. APPOINTMENT TERM|NATI()N DATE 21. CASE DlSPO SiTION
FROM m IF OTHER THAN CASE CoMPLF.TlON
22. C LAlM STATUS m Final Poyment E] Interlm Payrnent Number ___,,_,_ m Sup lementa| l’ayment
Have you previously applied to the court l`rr compensation and.tor remlmbumment for this case'.’ § YES £NO li yes. were you pa|d? E YES [3 NO
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l swear or afl'\rm the truth or correctness ofthc above statements.

 

Signat'ure of Attorney: Date'

   

 

 

 

 

 

 

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23. IN CUURT COMP. 1 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 17. TOTAL AMT. APPR¢'CERT
28. SIGNATURE OF THE PRESIDING .IUDICL»‘-\L OFFICER DATE ZBa. .IUDGE .' MAG. JUDGE CODE
29. IN COURT COMP. 311 OUT OF COUR'I` COMP. 31. TRAV`EL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED
34. Sllp(§ll:¢c'§l|,:.lzlx§cBFGYH:E§‘$EB(E:HCHHEB"'EuOnF APP EALS (OR DELEGATE) Payment DATE 34a. JUDGE CODE

 

 

 

 

 

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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNEssEE

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Honorable J on McCalla
US DISTRICT COURT

